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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

EMANI LOVE, et al.,                     NO. 2:15-cv-11834

      Plaintiffs,                       HON. NANCY EDMUNDS

v                                       MAG. ELIZABETH A. STAFFORD

RUTH JOHNSON,

      Defendant.

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    DEFENDANT’S REPLY TO PLAINTIFFS’ RESPONSE TO
          DEFENDANT’S MOTION TO DISMISS
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      A.    “Sex” is not interchangeable with “gender.”

      Plaintiffs contend that Defendant’s distinction between “sex” and

“gender,” with “sex” being primarily physical and “gender” being more

closely associated with a person’s identity or expression, is contrary to

“medical and scientific consensus.” (R. 26, Response, Pg ID# 214). But

this distinction between sex and gender is not Defendant’s own

invention. Rather, the distinction comes from a case involving a

transgender person, where the court makes the distinction between the

two terms in quoting a 2011 publication of the American Psychological

Association. Shaw v. District of Columbia, 944 F.Supp.2d 43, 48, fn. 2,

3 (D.D.C., 2013). Accordingly, the distinction that Defendant has made

is supported by case law. Plaintiffs have failed to cite to or identify

their sources, case law or otherwise, for the supposed consensus.

      Regardless, Plaintiffs’ use of these terms interchangeably causes

confusion and muddles the issues before this Court. If only for purposes

of this lawsuit, there must be a baseline vocabulary that distinguishes

between an individual’s physical sexual anatomy and the person’s

gender identity or gender expression. Otherwise, if both “sex” and

“gender” are subject to self-identification, any designation of “male” or

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“female” is ultimately nothing more than an individual’s subjective self-

concept. Indeed, in their Response, Plaintiffs contend that the most

important factor in determining a person’s “sex” is their gender identity.

(R. 25, Pg ID# 214). Plaintiffs fail to provide any legal or scientific

authority to support this contention.

      To prevent the parties from becoming mired in pedantic disputes

over which definition is more precise or apt, Defendant suggests that

this Court adopt the Shaw and the American Psychological

Association’s definitions of “sex” and “gender.”

      B.    Plaintiffs have failed to plead a violation of any
            limited right to informational privacy under the
            substantive due process protections of the Fourteenth
            Amendment.

      When analyzing the right-to-privacy protections of substantive

due process, the starting point is that “the Constitution does not

encompass a general right to nondisclosure of private information.”

J.P. v. Desanti, 653 F.2d 1080, 1090 (6th Cir. 1981). Plaintiffs fail to

mention Desanti in their response and instead focus on two narrow

limited exceptions to this general rule: Kallstrom v. City of Columbus,

136 F.3d 1055 (6th Cir. 1998) and Bloch v. Ribar, 156 F.3d 673 (6th Cir.

1998).

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      As discussed in Defendant’s brief to dismiss, the narrow and fact-

specific exceptions presented in Kallstrom and Bloch do not support

Plaintiffs’ argument that substantive due process should be extended to

provide them a right to privacy regarding the sex designation on their

driver’s licenses. A Michigan driver’s license or state issued

identification card merely states an operator’s anatomical sex, not his or

her gender or gender identity.

      In support of their position that disclosure of the “wrong” sex on

their driver’s license violates their right to privacy, Plaintiffs cite to

K.L. v. State, Dep’t of Admin., Div. of Motor Vehicles, No. 3AN-11-

05431-CI, 2012 WL 2685183 (Alaska Super. Ct. Mar. 12, 2012). But

K.L. is inapposite for two main reasons.

      First, the right to privacy in K.L. was based on the Alaska

Constitution, not the United States Constitution. “Unlike the federal

Constitution, Alaska’s constitution provides an explicit right to

privacy.” K.L., 2012 WL 2685183 at *4. State law can confer greater

rights than federal law. “Because this right to privacy is explicit, its

protections are necessarily more robust and ‘broader in scope’ than

those of the implied federal right to privacy.” Id. The court concluded


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that disclosure of the driver’s license “implicates non-fundamental

aspects of the right to privacy.” Id. at *8 (emphasis added). In contrast,

Plaintiffs here argue that they have a fundamental right to privacy

under the U.S. Constitution. Thus, Plaintiffs’ reliance on K.L. is

misplaced.

      Second, the court’s decision in K.L. is based, in part, on the fact

that the Alaska DMV provided no procedure for changing the sex

designation on a person’s driver’s license. Previously, the Alaska DMV,

like Michigan, required “a medical certification of a sex change…before

the DMV would change the sex code on an individual’s license.” K.L.,

2012 WL 2685183 at *1. But the parties agreed that the regulation was

“not promulgated in accordance with the APA, and is therefore invalid.”

Id. at *3. Accordingly, “because the DMV now has no procedure for

changing the sex designation on a driver’s license, the issue before this

Court is whether the absence of any procedure for changing the sex

designation on an individual’s license impermissibly infringes on the

privacy rights of license holders….” Id. Nothing in K.L. calls into

question the legality of requiring proof of a sex change. The court

simply ordered the Alaska DMV to adopt a regulation in accordance


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with the APA. Id. at *8. If anything, K.L. actually supports

Defendant’s position that requiring proof of a sex change is lawful.

Accordingly, Plaintiff’s right-to-privacy claim should be dismissed.

      C.    Plaintiffs’ arguments on the application of the First
            Amendment are legally incorrect and must be
            rejected.

      Defendant’s brief cited extensively to the Supreme Court’s

decision in Rumsfeld v. Forum for Academic & Institutional Rights,

Inc., 547 U.S. 47 (2006), which itself provided a thorough review of

Supreme Court jurisprudence on compelled speech in matters of both

opinion and fact. (R. 16, Pg ID# 92-94). Plaintiffs’ response conflates

compelled statements of fact and opinion, and fails to acknowledge the

nuances between how those different subjects have been treated by the

Supreme Court.

      Plaintiffs erroneously argue that West Virginia State Board of

Education v. Barnette, 319 U.S. 624, 63 S. Ct. 1178, 87 L. Ed. 1628

(1943) and Wooley v. Maynard, 430 U.S. 705, 717 (1977) apply to

compelled statements of fact under Riley v. National Federation of the

Blind of N.C., Inc., 487 U.S. 781, 797-798 (1988). But Plaintiffs failed to

acknowledge that Barnette and Wooley, which involved disputes over


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the Pledge of Allegiance and mandatory display of a state motto,

involved matters of compelled statements of opinion or ideology.

Barnette, 319 U.S. at 642; Wooley, 430 U.S. at 717. In contrast, the

Supreme Court in Riley expressly based its decision upon its concern

over the burden that compelled statements of fact, as opposed to opinion

or ideology, placed on other protected expression. Riley, 487 U.S. at

797-798. Because Plaintiffs ignore this critical distinction, their

arguments are intrinsically and incurably flawed.

      Notably, the Plaintiffs appear unwilling to definitively state

whether their claim is based upon a theory of compelled statement of

fact or compelled statement of opinion. Consequently, it remains

unclear how they believe their claim should be analyzed. Thus,

Plaintiffs fail to take a position on one of the central issues in this case

– whether Plaintiffs’ sex is a matter of fact, or opinion.

      Regardless, Plaintiffs’ claims fail either way. As a compelled

statement of fact, Plaintiffs fail to establish that having their sex

designated on their driver’s license burdens protected speech. In

support of their claim that the expression of their gender identity is

protected speech, Plaintiffs cite to two state court opinions from outside


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the Sixth Circuit. Doe v. Yunits, 2001 Mass. Super. LEXIS 327 (2001)

and Doe v. Bell, 754 N.Y.S.2d 846 (Sup. Ct. NY, 2003). In Yunits, the

Massachusetts Superior Court made no determination about whether a

transgender student’s decision to wear female clothes was not protected

speech, and instead the two claims premised upon “freedom of

expression” were dismissed with the agreement of the plaintiff. Yunits,

2001 Mass. Super. LEXIS 327, 10-11. Similarly, Bell was not based

upon protected expression, and instead was a claim for accommodation

under New York’s disability discrimination statute. Bell, 754 N.Y.S.2d

at 850. Consequently, neither case supports Plaintiffs’ claims.

      Likewise, if Plaintiffs assert a theory of compelled opinion, their

claim fails because there is no opinion being expressed about the

validity or merits of their gender identity. There is no statement of

ideology or creed, simply a designation of “M” or “F,” which is no more a

statement of opinion than the recitation of Plaintiff’s’ height, eye color,

or age.

      Significantly, Plaintiffs make no effort to reconcile their claims

with United States v. O’Brien, 391 U.S. 367, 375 (1968), in which the

Supreme Court noted that the prohibition against destruction of draft


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cards, “no more abridges free speech on its face than a motor vehicle

law prohibiting the destruction of drivers’ licenses….” Plaintiffs also

offer no explanation for how their claims comport with Walker v. Texas

Division, Sons of Confederate Veterans, Inc., 135 S. Ct. 2239, 2242

(2015), where the Supreme Court noted that, “issuers of ID ‘typically do

not permit’ the placement on their IDs of ‘message[s] with which they

do not wish to be associated.” (internal citations omitted). In other

words, if the Plaintiffs’ gender identity is indeed a matter of opinion,

then it follows that the State is not required to print the Plaintiffs’

contrary opinion on a state-issued ID.

      D.    Plaintiffs fail to state a valid Equal Protection claim
            because they do not show that they are treated
            differently on the basis of their sex.

      Plaintiffs’ principal argument is that Defendant’s policy on

changing one’s sex designation “classifies based on sex.” (R. 26, Pg ID#

230). According to Plaintiffs, Defendant’s policy “denies only

transgender persons the right to an accurate license.” (R. 26, Pg ID#

231). Plaintiff’s argument, however, misapplies both the Defendant’s

policy and prevailing law.




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      Plaintiffs fail to satisfy the threshold requirement of an Equal

Protection claim that they are treated differently from those who are

similarly situated. Scarbrough v. Morgan County Board of Education,

470 F.3d 250, 260 (6th Cir. 2006). Plaintiffs do not allege that only

males are permitted to change their sex to female on their driver’s

license, or vice versa. The Secretary of State’s policy, which logically

flows from a Michigan statute, on its face, makes no classification based

upon sex or gender. There is simply no disparate treatment in

requiring an updated birth certificate before changing the sex

designation on a driver’s license. Defendant simply requires that a

person’s sex designation conform to an official state record—a birth

certificate. Plaintiffs fail to establish that this requirement, generally

applicable to all persons equally, singles them out for disparate

treatment.

      Finally, Defendant’s driver’s license policy withstands rational

basis review. Johnson v. Bredesen, 624 F.3d 742, 746-47 (6th Cir.

2010). There are legitimate state interests in an official state

identification that reflects a person’s sex in conformity with their

physical anatomy. Plaintiffs’ arguments focus on the varied standards


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that other states require to change a birth certificate, which may result

in some people in Michigan obtaining a revised birth certificate without

a change to their anatomy. According to Plaintiffs, this potential for

inaccurate information on a Michigan driver’s license nullifies

Defendant’s interest in accurate records.

      But the fit between the government’s legitimate interests and the

means chosen to accomplish those interests need not be perfect, just

rational. See e.g. Breck v. Michigan, 47 F. Supp. 2d 880, 887 (E.D.

Mich. 1999). The identification of drivers based on their anatomical sex

is rationally related to the governmental interests in maintaining

accurate identification records and based on public safety concerns.

State law expressly requires that a driver’s license include a person’s

“sex.” Mich. Comp. Laws § 257.310(2)(b). Birth certificates are

considered “vital records” by law, and include a designation of sex at

birth. Mich. Comp. Laws § 333.2805(3), Mich. Comp. Laws §

333.2831(c). Defendant may rationally conclude, therefore, that a birth

certificate is the most accurate means of determining a person’s sex.

      Moreover, there are a multitude of public safety concerns that

support the government’s interest in having reliable information about


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a person’s biological sex. For example, upon arrest, a transgender

person who has not undergone reassignment surgery could be exposed

to harm if detained or imprisoned with members of the opposite sex.

Also, as a result of a catastrophic event, such as a serious auto accident,

a destructive fire, flood, etc., it may be necessary to identify a body

based upon anatomical indicators, such as bone structure. Inconsistent

records could increase the chances of misidentification.

      Plaintiffs may dispute the effectiveness of Defendant’s policy or

the balance of interests inherent in it, but Plaintiffs cannot seriously

dispute that the government’s interests are legitimate and that the

challenged policy is rationally related to accomplishing those interests.

The policy thus passes rational basis review, and Plaintiffs’ Equal

Protection claim must fail.

      E.    Plaintiffs have failed to plead a violation of the right
            to interstate travel.

      The component of the right to travel at issue here is “for those

travelers who elect to become permanent residents, the right to be

treated like other citizens of that State.” Saenz v. Roe, 526 U.S. 489,

500 (1999). Plaintiffs’ claim is without merit.



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      First, on the specific facts alleged by Plaintiffs, there is no actual

discrimination between Michigan-born residents and Michigan

residents who were born elsewhere. Plaintiffs’ right-to-travel claim is

based on the alleged distinction between “those who were born in

Michigan and those who were not.” (R. 1, Complaint, ¶ 125, Pg ID# 37).

But this distinction is illusory because Defendant’s policy to require a

birth certificate to change a person’s sex designation on their Michigan

driver’s license, applies equally whether the birth certificate was issued

by Michigan or some other state. Michigan-born and non-Michigan-

born Plaintiffs are treated exactly the same.

      Second, the case law cited in Plaintiffs’ response brief does not

support their right-to-travel claim. Plaintiffs rely solely on two cases:

Saenz, supra and Attorney Gen. of New York v. Soto-Lopez, 476 U.S. 898

(1986). (R. 26, Response, Pg ID# 232-34).

      Saenz involved deliberate and direct discrimination against new

California residents. For one year, new residents of California received

welfare benefits in the amount that they received from their former

state when that amount was lower than what California would have

been paid to long-term California residents. Saenz, 526 U.S. at 493.


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The raison d'être of the challenged law was to treat new residents

differently. Not so in this case. Here, Defendant has an equally-applied

policy that provides an objective, consistent, and administrable method

for changing the sex designation on a person’s driver’s license.

      Soto-Lopez also involved direct, purposeful discrimination based

solely on residency. New York granted civil service preferences only to

military veterans who were residents of New York when they entered

military service. Soto-Lopez, 476 U.S. at 900. New York offered several

reasons for its deliberate discrimination, but the Supreme Court

rejected them all. Id. at 909.

      Unlike Saenz and Soto-Lopez, the purpose of the driver’s license

policy is not to discriminate against new residents, but rather to apply a

uniform policy applicable to all of its residents with respect to changing

the sex designation on a driver’s license. Consequently, Plaintiffs’

right-to-travel claim should be dismissed.

      F.    Plaintiffs have failed to plead a claim of forced
            medical treatment.

      Plaintiffs admit that they are not forced to undergo medical

treatment, but instead argue that “Defendant’s policy forces Plaintiffs

to choose between an accurate license and an invasive medical

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procedure.” (R. 26, Response, Pg ID# 236). Plaintiffs’ argument is

flawed.

      First, Plaintiffs already have an “accurate” license, which reflects

their sex as set forth on their birth certificate. Plaintiffs have not sued

to have the word “sex” changed to “gender” on the face of the driver’s

license.

      Second, the requirement to have sex-reassignment surgery in

order to change one’s sex on a Michigan-issued driver’s license is not

imposed by Defendant’s policy. The requirement comes from the Public

Health Code, which requires the state registrar to establish a new

certificate of birth when one of three conditions is met. Relevant here is

the third condition: “A request that a new certificate be established to

show a sex designation other than that designated at birth. The

request shall be accompanied by an affidavit of a physician certifying

that sex-reassignment surgery has been performed.” Mich. Comp. Laws

§ 333.2831. None of the cases cited in Plaintiffs’ response brief support

the conclusion that this indirect connection could support a forced-

medical-treatment claim.




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             CONCLUSION AND RELIEF REQUESTED

      For the reasons discussed above and in her brief to dismiss,

Defendant requests that this Honorable Court grant her motion and

dismiss this action with prejudice.


                                           Respectfully submitted,

                                           Bill Schuette
                                           Attorney General


                                           /s/Erik A. Grill
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Dated: September 16, 2015




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                      CERTIFICATE OF SERVICE

      I hereby certify that on September 16, 2015, I electronically filed

the foregoing paper with the Clerk of the Court using the ECF system

which will send notification of such filing of the foregoing document as

well as via U.S. Mail to all non-ECF participants.


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